                      UNITED STATES DISTRICT COURT
                      WESTERN DISTRICT OF LOUISIANA
                          ALEXANDRIA DIVISION


       CIVIL CASE MANAGEMENT ORDER FOR CASES ASSIGNED TO
           MAGISTRATE JUDGE PEREZ-MONTES BY CONSENT

      Pursuant to the Federal Rules of Civil Procedure and the Local Rules for the
United States District Court for the Western District of Louisiana, this Order shall
apply to cases in which Magistrate Judge Perez-Montes is presiding by consent.

A.    Pretrial Stipulations

      1.    No later than eight (8) weeks prior to trial, Plaintiff(s) shall submit a
            draft of proposed Pretrial Stipulations to Defendant, using the format
            found on Magistrate Judge Perez-Montes’s forms page at
            www.lawd.uscourts.gov.

      2.    No later than seven (7) weeks prior to trial, Defendant(s) shall submit a
            draft of proposed Pretrial Stipulations to Plaintiff(s), in like format.

      3.    No later than six (6) weeks prior to trial, counsel for Plaintiff(s) shall
            initiate an informal conference between/among the parties.               If
            Plaintiff(s) is/are unrepresented, counsel for the first named represented
            Defendant shall initiate the conference. If all parties are unrepresented,
            Plaintiff shall initiate the conference. The conference may be by
            telephone or other electronic means. At this conference, the attorneys
            for the parties and/or the unrepresented parties themselves, shall do the
            following:

            a.     prepare Pretrial Stipulations in accordance with the format found
                   on Magistrate Judge Perez-Montes’s forms page at
                   www.lawd.uscourts.gov;

            b.     arrive at all possible stipulations and/or admissions; and

            c.     view, copy, exchange, and mark copies of all exhibits to be offered
                   in evidence.

      4.    The Pretrial Stipulations shall be signed by all attorneys and/or
            unrepresented parties.




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     5.    The Pretrial Stipulations shall be filed with the Clerk of Court no later
           than five (5) weeks prior to trial, with a copy of the Pretrial Stipulations
           submitted directly to Magistrate Judge Perez-Montes’s chambers.

     6.    All attorneys and/or unrepresented parties shall cooperate with the
           person arranging the conference in order to facilitate and expedite the
           holding of this meeting.

     7.    If problems or disagreements concerning the content of the Pretrial
           Stipulations arise, the parties are instructed to immediately contact
           Yvonna Tice, Magistrate Judge Perez-Montes’s Courtroom Deputy, at
           (318) 769-8801, to request a teleconference.

     8.    If the parties desire to amend the Pretrial Stipulations after filing, final
           Revised Pretrial Stipulations incorporating the original stipulations and
           all desired amendments and signed by all attorneys and/or
           unrepresented parties must be filed with the Clerk of Court no later
           than fourteen (14) calendar days before trial. A copy of the Revised
           Pretrial Stipulations should be contemporaneously transmitted to
           Magistrate Judge Perez-Montes’s chamber. No Revised Pretrial
           Stipulations will be allowed unless agreed to and signed by all attorneys
           and/or unrepresented parties, even if such parties are unaffected by the
           revisions.

     9.    No exhibit(s) or witness(es) (other than those used for impeachment
           purposes) will be allowed at trial unless listed in the Pretrial
           Stipulations, except by Order of the Court. A “reservation of rights” to
           call witnesses or to introduce exhibits (such as “any other witness or
           exhibit called or listed by any other party”) shall not constitute a
           “listing” in the Pretrial Stipulations. “Impeachment” witnesses whose
           names are not disclosed are limited to those who will actually testify in
           accordance with Fed. R. Evid. 608 and 609.

     10.   If a trial date is continued, the parties may prepare and file Revised
           Pretrial Stipulations before the new trial date upon motion agreed to
           and signed by all attorneys and/or unrepresented parties in accordance
           with paragraph 8.

B.   Final Witness and Exhibit Lists, and Estimated Trial Length

     1.    The parties must file with the Clerk of Court a final list of “will call”
           witnesses (all “may call” witnesses must be converted or deleted) and a
           final list of exhibits expected to be introduced no later than fourteen (14)
           calendar days before trial. No witnesses or exhibits not previously

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          disclosed in the Pretrial Stipulations may be added to the final list.
          These lists must include rebuttal witnesses and exhibits. Rebuttal is
          limited to the plaintiff’s case. The need for sur-rebuttal witnesses, if
          any, will be addressed at the pretrial conference. A non-impeachment
          witness not so listed will not be permitted to testify at trial over
          objection, and a non-impeachment exhibit not so listed will not be
          admitted into evidence at trial over objection, except by order of the
          Court in truly exceptional circumstances. Copies of the final witness and
          exhibit lists must be transmitted to Magistrate Judge Perez-Montes’s
          chambers and to the court reporter at the same time the original
          documents are filed.

     2.   Any unresolved objections to witnesses or exhibits enumerated on the
          final lists discussed above (including, but not limited to objections
          regarding authenticity and/or relevance) must be noted immediately
          under the listing of the witness or exhibit, must identify the specific
          evidence at issue, must identify the grounds for the objection, and must
          include citations to the Federal Rules of Evidence and/or other legal
          authorities applicable to the admissibility or inadmissibility of the
          evidence.

     3.   At trial, should any party fail to call any witness on the “will call” list,
          any other party may call that person as its own witness, even if that did
          not list the person on its witness list. Likewise, should any party fail to
          introduce any exhibit on the exhibit list, any other party may introduce
          that exhibit, even if it did not place the exhibit on its exhibit list.

C.   Potential Impeachment Evidence

     1.   If a party has good cause not to disclose witnesses or exhibits to be used
          solely for the purpose of impeachment, no later than fourteen (14)
          calendar days before trial that party shall transmit the intended
          testimony or exhibit(s) to the Magistrate Judge Perez-Montes’s
          chambers in camera. Contemporaneously, that party must certify to the
          Court that it has forwarded to the opposing part(y)(ies) written notice
          indicating that proposed impeachment evidence (naming the witness or
          evidence to be attacked) has been forwarded to the Court.

     2.   Should the Court find the evidence appears admissible as impeachment
          alone, the party tendering the evidence shall inform the opposing
          part(y)(ies) that impeachment evidence will be introduced. The explicit
          details of the evidence need not be disclosed.




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D.   Depositions

     1.    With respect to all deposition testimony to be offered into evidence
           (other than that used for impeachment purposes), the parties shall agree
           upon and redact all irrelevant and repetitive matters as well as all
           colloquy between/among counsel except relevant objections and the
           basis for them.     The Court will not generally permit the use of a
           deposition in lieu of live testimony if the deposition has not been
           prepared as set out herein, except for good cause shown.

     2.    The parties must, in good faith, attempt to resolve all objections to
           testimony contained in the body of any deposition to be offered into
           evidence. As to all such objections not amicably resolved, the parties
           shall deliver to the Court a copy of the deposition, a statement
           identifying the objectionable portions, and the grounds for the objection
           (including citations to the Federal Rules of Evidence and/or other
           applicable legal authorities) no later than fourteen (14) days prior to
           trial.

     3.    In bench trials, the parties will forward all depositions being introduced
           by agreement to the Court as early as possible, but in no case later than
           seven (7) calendar days before trial.

E.   Original Trial Exhibits

     1.    The Clerk of Court and Court Reporter will not accept original exhibits
           before trial. Original exhibits will be accepted by the Clerk of Court only
           when introduced in the normal course of trial, except to the extent
           necessary to prepare tools for use in the Court’s exhibit display
           technology.

F.   “Realtime” Glossary

     1.    The parties must submit a Realtime glossary to the Clerk of Court no
           later than fourteen (14) days before trial, for transmittal to the court
           reporter. The glossary shall contain all "key word indexes" from all
           depositions taken in the case, all witness lists, exhibit lists, and copies
           of all expert reports. The parties should use the example and
           instructions found on Magistrate Judge Perez-Montes’s forms page at
           www.lawd.uscourts.gov.

G.   Objects Used in Opening Statements or Closing Arguments




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     1.    At least fourteen (14) calendar days before trial, counsel shall file with
           the Clerk of Court a list and brief description of any charts, graphs,
           models, schematic diagrams, or similar objects which, although not to
           be offered in evidence, counsel intend to use in opening statements or
           closing arguments. A copy of this list should contemporaneously be
           transmitted to opposing counsel and to Magistrate Judge Perez-
           Montes’s chambers (with certification of delivery to opposing counsel).

     2.    Any unresolved opposition to the use of objects enumerated on the list
           discussed in the preceding paragraph must filed with the Clerk of Court
           at least seven (7) calendar days before trial. Opposing counsel and
           Magistrate Judge Perez-Montes must contemporaneously be provided
           with copies of any opposition. The opposition must identify the grounds
           for the objection and must include citations to any applicable legal
           authorities.

H.   Trial Notebooks, Exhibits, and the Electronic Courtroom

     1.    No later than seven (7) calendar days before trial, all counsel must
           jointly submit three (3) copies of a joint Trial Notebook containing all
           documentary exhibits to be used during trial. Any exhibits which may
           be referenced – including exhibits to which a party objects – must be
           included in the Trial Notebook. Trial Notebooks must be submitted
           directly to the chambers of Magistrate Judge Perez-Montes.

           a.    The parties will not submit separate Trial Notebooks. The Court
                 will only accept one Trial Notebook

           b.    Generally, Trial Notebooks should contain one section for joint
                 exhibits (exhibits to which neither party objects) and additional
                 sections, if necessary, for each party’s exhibits (exhibits to which
                 the opposing party may object). Joint exhibits should be offered
                 for admission at the beginning of trial to allow both parties to use
                 exhibits during examinations.

     2.    All exhibits must be consecutively numbered using the system on the
           Court’s website: http://www.lawd.uscourts.gov/guidelines-submission-
           exhibits. Joint exhibits should be numbered using the prefix “J.”

     3.    The parties are encouraged to familiarize themselves with the
           technology available in the courtroom before trial. No later than
           fourteen (14) calendar days before trial, counsel may contact Magistrate
           Judge Perez-Montes’s Courtroom Deputy to make an appointment to
           tour the courtroom, test equipment, and present any questions

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           regarding the display of exhibits. Counsel may bring parties or
           witnesses to the courtroom during this appointment.

     4.    In cases where exhibits are to be presented by CD ROM, the CD must
           be delivered to the Clerk of Court no later than seven (7) calendar days
           before trial. Please refer to the "Guidelines for Submission of Exhibits
           on CD ROM" posted on our website, at www.lawd.uscourts.gov or obtain
           a copy from the Clerk of Court. If you have additional questions, please
           contact Magistrate Judge Perez-Montes’s Courtroom Deputy.

I.   Expert Witnesses

     1.    Generally, expert witnesses whose reports have not been furnished to
           opposing counsel in accordance with the Plan of Work will not be
           permitted to testify over objection, unless otherwise permitted by order
           of the Court. Likewise, experts will not be permitted to testify regarding
           opinions not included in timely furnished reports, unless permitted by
           order of the Court.

     2.    Unless otherwise ordered by the Court, counsel will not be permitted to
           ask questions on cross-examination of an economic expert which
           questions would require the witness to make mathematical calculations
           in order to frame a response, unless the factual elements of such
           questions have been submitted to the expert witness at least seven (7)
           calendar days before trial.

J.   Motions in Limine and Objections

     1.    Written motions in limine may be made before or during trial. However,
           to expedite consideration of complex evidentiary issues, and to avoid
           wasted time after a jury is empaneled, counsel are strongly encouraged
           to file all written motions in limine to admit, exclude, or limit evidence
           at least fourteen (14) calendar days before trial. If a written motion in
           limine is filed during trial, or if counsel intends to verbally argue a
           complex evidentiary issue, counsel are strongly encouraged to request
           argument before the jury is seated on the morning of trial.

     2.    Failure to file a motion in limine does not necessarily constitute a waiver
           of objections to a particular exhibit. Counsel may object to exhibits
           during trial. To state an objection, counsel should rise, state the basis
           of the objection without argument, and wait for further instructions. If
           argument is required, Magistrate Judge Perez-Montes will request it.




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K.   Proposed Jury Instructions and Suggested Verdict Form

     1.    In jury cases, the parties shall confer and produce one set of jury
           instructions and jury interrogatories as required by LR 51.1. As set
           forth in that Local Rule, the joint and separate proposed jury
           instructions shall be filed with the Clerk of Court, and a copy shall be
           transmitted to Magistrate Judge Perez-Montes’s chambers, at least
           twenty-one (21) calendar days before trial. Instructions relating to the
           Court’s general charge regarding the function of the jury, the credibility
           of witnesses, the burden of proof, and similar matters need not be
           furnished unless the case presents unusual circumstances such that
           special instructions on these matters are desired.

     2.    Proposed jury instructions should be based on the Fifth Circuit’s Pattern
           Civil Jury Instructions and referenced by number. Any proposed
           instructions not found in the Fifth Circuit’s Pattern Instructions must
           be submitted in their entirety and accompanied by pinpoint citations.
           Any objections to the proposed instructions must be noted immediately
           under the listing of the instruction, must identify the grounds for the
           objection, and must include citations to any applicable legal authorities.

     3.    For jury cases, the parties shall also confer and produce one suggested
           form of verdict. The suggested form of verdict shall be filed with the
           Clerk of Court and a copy shall be transmitted to Magistrate Judge
           Perez-Montes’s chambers at least twenty-one (21) calendar days before
           trial. If the parties cannot agree on a suggested form of verdict, each
           party should submit a suggested form.           Agreement is strongly
           encouraged.

L.   Compromise and Commencement of Trial

     1.    If the litigation is settled in whole or in part, counsel shall promptly
           notify the Clerk of Court and Magistrate Judge Perez-Montes’s
           chambers. If the case is settled after the Clerk of Court’s office has
           closed on the day before trial or on the weekend before a Monday trial,
           the parties must advise the Magistrate Judge’s Courtroom Deputy by
           email. If the matter is set for a jury trial, all steps will be taken to have
           the jury cancelled. If time does not permit the jury to be cancelled, the
           parties subject themselves to the assessment of jury costs.

     2.    Counsel shall be present at 8:30 a.m. on the first day of trial, which will
           begin promptly at 9:30 a.m. The trial will not be delayed awaiting the
           appearance of witnesses. Therefore, all parties should have an adequate
           number of witnesses available to meet this schedule.

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